                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                             Plaintiff,

v.                                                               Case Nos.    96-Cr-4
                                                                              05-C-1166

CARVESTER CARVER,

                             Defendant/Movant.


                               DECISION AND ORDER


        In 1996, a jury found Carvester Carver (“Carver”) guilty of conspiracy to distribute

a controlled substance, for which this Court sentenced him to a term of imprisonment. This

judgment was affirmed on appeal in 1999, see United States v. Carver, 179 F.3d 1056 (7th

Cir. 1999) and a petition for a writ of certiorari to the Supreme Court of the Untied States

was denied on October 18, 1999, see Carver v. United States, 528 U.S. 957 (1999). On July

25, 2005, Carver moved the Court for relief pursuant to 18 U.S.C. § 3582(c)(2), claiming that

he was entitled to a shorter sentence. Specifically, Carver sought correction of his sentence

based solely on United States v. Booker, __ U.S. __, 125 S.Ct. 738 (2005) and Blakely v.

Washington, 542 U.S. 296 (2004).

        In an order dated September 7, 2005, the Court informed Carver that it intended to

recharacterize his motion as one brought under 28 U.S.C. § 2255. The Court notified Carver




     Case 2:96-cr-00004-RTR      Filed 11/10/05    Page 1 of 5     Document 517
that, subsequent to its recharacterization, any further § 2255 motions that he filed would be

subject to the restrictions on second or successive motions found in 28 U.S.C. §§ 2244 and

2255. Id. Before proceeding further, the Court granted Carver until October 3, 2005, to

either (a) withdraw his motion or (b) amend it so that it contained all the § 2255 claims he

wished to raise. Id. The Court warned that failure to amend the instant motion could

foreclose future relief on additional grounds.

      The deadline set by the Court came and went. Carver was not heard from. So, the

Court sent him a letter, dated October 19, 2005, and extended the time for him to respond

until November 8, 2005. On October 31, 2005, the Court received a letter from Carver

stating that he decided to “let the 18 U.S.C. § 3582(c)(2) motion for relief stand as is.” (Ltr.

from C. Carver to Chief J. Randa (Oct. 31, 2005).) In that same letter, Carver stated that he

intended to file a § 2255 motion no later than November 8, 2005. True to his word, Carver

filed a motion pursuant to 28 U.S.C. § 2255, which the Court received on November 7, 2005.

       Carver’s filings will be liberally construed. Though likely unintentional, his request

to maintain the § 3582 motion would preclude consideration of his § 2255 motion filed on

November 7, 2005. This is why: the Court had already indicated that, if Carver wished to go

forward on his § 3582 motion, it would be re-characterized as a request for relief pursuant

to § 2255. That recharacterization, however, would render his November 7, 2005 filing a

subsequent motion. This clearly is not what Carver intended. Therefore, the Court will




                                               2


   Case 2:96-cr-00004-RTR         Filed 11/10/05     Page 2 of 5     Document 517
dismiss the pending § 3582 motion and consider the claims contained therein as additional

grounds for relief in Carver’s § 2255 motion.

         Rule 4 of the Rules Governing Section 2255 Proceedings for the United States District

Courts, states that a judge must promptly examine § 2255 motions and “[i]f it plainly appears

from the motion, any attached exhibits, and the record of prior proceedings that the moving

party is not entitled to relief, the judge must dismiss the motion.” Rules Governing Sec. 2255

Proceedings for the United States District Courts, Rule 4(b).

         Carver’s motion identifies two grounds for relief. First, he claims a violation of his

fifth and sixth amendment rights insofar as the government did not prove beyond a

reasonable doubt the drug quantity for which he was sentenced. Second, Carver states that

he received ineffective assistance of counsel because his counsel did not object to the drug

quantity attributed to Carver.

         Carver’s petition is clearly based on Apprendi v. New Jersey, 530 U.S. 466 (2000)1

and his counsel’s failure to anticipate that decision. However, Carver’s conviction became

final on October 18, 1999, when the Supreme Court denied his requested for a writ of

certiorari. Apprendi was decided several months later. The Seventh Circuit has held that

Apprendi does not apply retroactively to “sentences that became final before June 26, 2000.”

Curtis v. United States, 294 F.3d 841, 844 (7th Cir. 2002).



        1
          Apprendi held that “[o]ther than the fact of a prior conviction, any fact that increases the penalty for a crime
beyond the prescribed statutory maximum must be submitted to a jury and proved beyond a reasonable doubt.” 530 U.S.
466, 490 (2000).

                                                            3


    Case 2:96-cr-00004-RTR                 Filed 11/10/05          Page 3 of 5          Document 517
       Carver’s claim of ineffective assistance of counsel fares no better. Counsel’s failure

to anticipate the holding of Apprendi is not a cognizable sixth amendment violation. See

Valenzuela v. United States, 261 F.3d 694, 700 (7th Cir. 2001). The sixth amendment does

not require counsel to predict changes in the law. Id.

       Finally, the Court addresses those arguments raised in Carver’s § 3582 motion,

seeking relief based on United States v. Booker, __ U.S. __, 125 S.Ct. 738 (2005) and

Blakely v. Washington, 542 U.S. 296 (2004). Those arguments too must fail. The Seventh

Circuit has held that Booker is not retroactively applicable to criminal cases, like Carver’s,

that became final before January 12, 2005. McReynolds v. United States, 397 F.3d 479, 481

(7th Cir. 2005). In that opinion, the Seventh Circuit also clarified that “Blakely reserved

decision about the status of the federal Sentencing Guidelines . . . so Booker itself represents

the establishment of a new rule about the federal system.” Id. Thus, Carver’s attempts to

claim that the decisions of Booker or Blakely mandate consideration of his motion are

without merit.

       Accordingly, Carver’s § 2255 motion fails to pass Rule 4 muster, and must be

dismissed.




                                               4


   Case 2:96-cr-00004-RTR         Filed 11/10/05     Page 4 of 5     Document 517
      NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT:

      Carver’s Motion Pursuant to 18 U.S.C. § 3582(c)(2), for Sentence Reduction Pursuant

to the Subsequent Change in the Sentencing Guidelines (Docket No. 514 of Case No. 96-Cr-

4) is DISMISSED.

      Carver’s Petition under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

by a Person in Federal Custody (Docket No. 1 of Case No. 05-C-1166) is DISMISSED.

             Dated at Milwaukee, Wisconsin this 10th day of November, 2005.

                                        BY THE COURT


                                        s/ Rudolph T. Randa
                                        Hon. Rudolph T. Randa
                                        Chief Judge




                                           5


   Case 2:96-cr-00004-RTR      Filed 11/10/05    Page 5 of 5    Document 517
